      Case 3:18-cr-00319-MO          Document 240        Filed 12/31/19      Page 1 of 1




                     IN THE UNITED STATE DISTRICT OF COURT

                             FOR THE DISTRICT OF OREGON



 UNITED STATES OF AMERICA,                           Case No. 3:18-cr-00319-MO-2

                                      Plaintiff,     ORDER GRANTING SUBSTITUTION
                                                     OF COUNSEL PURSUANT TO THE
                       v.                            PROVISIONS OF THE CRIMINAL
                                                     JUSTICE ACT, 18 U.S.C. § 3006A
 EARL DEVERLE FISHER,

                                    Defendant.




       IT IS ORDERED that CJA Panel attorney Lynne Morgan is appointed pursuant to the

provisions of the Criminal Justice Act, 18 U.S.C. 3006A, as substitute counsel, relieving

Deborah S. Burdzik for Earl Deverle Fisher, effective December 30, 2019.



       DATED this -f/- ctay of December, 2019.



                                                     onorable Michael W. osman
                                                    United States Distric ourt Judge


Presented by:



LisaC.\ t¥
Federal Public Defender
